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06/05/2023

Clerk of Court

The Clerk of the United States District Court for the District of Massachusetts

United States District Court for the District of Massachusetts

John Joseph Moakley U.S. Courthouse

1 Courthouse Way, Suite 2300

Boston, Massachusetts 02210 - - we Se ~

Re: Motion for E-File Access
Dear Clerk of Court,

|, Thomas A. Mourier, am a party in the case of Thomas A. Mourier v. Massachusetts Securities
Division pending before the United States District Court for the District of Massachusetts. | am
writing to respectfully request access to the court's electronic filing system (E-File) to
electronically submit documents in this case. | believe that utilizing the E-File system will
streamline the filing process and promote efficient communication between the court and the
parties involved.

Grounds for the Motion:

1. Efficiency and Convenience: E-File access will enable me to electronically file
documents, eliminating the need for physical delivery or mailing. This will save time,
reduce costs associated with paper copies and postage, and ensure immediate receipt
and acknowledgment of filings.

2. Accessibility: E-File access will allow me to file documents remotely from any location
with internet access. This is especially beneficial when physical presence at the court
may not be feasible or practical.

3. Timeliness: E-Filing will ensure the timely submission of documents, reducing the risk of
missed deadlines and potential delays in the proceedings. It will also provide an efficient
means of receiving court orders, notifications, and correspondence promptly.

4. Environmental Considerations: Utilizing the E-File system aligns with the court's efforts
to promote sustainability and reduce the use of paper resources, contributing to
environmental conservation.
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5. Compliance: | understand that E-File access is subject to compliance with the court's
rules, guidelines, and any applicable procedures. | assure you that | will strictly adhere to
these requirements and take all necessary steps to maintain the integrity and security of
the system.

I kindly request that the court grant me access to the E-File system for the above-mentioned
case. | am prepared to fulfill any registration process, complete any required training, or provide
any additional information necessary to facilitate the setup of my E-File account.

Thank you for considering this motion. Granting E-File access will enhance the efficiency and
effectiveness of the filing process, benefiting all parties involved. | appreciate your attention to
this matter and look forward to a favorable response.

Should you require any further information or documentation, please do not hesitate to contact
me at the provided contact details. | remain available to assist in any way possible.

Sincerely,

Thomas A. Mourier
